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12                                UNITED STATES DISTRICT COURT
13                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
14    UNITED STATES OF AMERICA,                   No. CR 18-331-GW

15                   Plaintiff,                   PLEA AGREEMENT FOR
                                                  DEFENDANT ARMAN GABAEE
16                        v.

17    ARMAN GABAEE,
       aka “Arman Gabay,”
18
                     Defendant.
19

20

21            1.      This constitutes the plea agreement between defendant ARMAN
22    GABAEE (“defendant”) and the United States Attorney’s Office for the
23    Central District of California (the “USAO”) in the above-captioned
24    case.        This agreement is limited to the USAO and cannot bind any
25    other federal, state, local, or foreign prosecuting, enforcement,
26    administrative, or regulatory authorities.
27    ///
28    ///
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1                                  DEFENDANT’S OBLIGATIONS

2            2.    Defendant agrees to:

3                  a.    At the earliest opportunity requested by the USAO and

4     provided by the Court, appear and plead guilty to Count Four of the

5     indictment in United States v. Arman Gabaee, CR No. 18-331-GW, which

6     charges defendant with Federal Program Bribery in violation of 18

7     U.S.C. § 666(a)(2).

8                  b.    Not contest the Factual Basis agreed to in this

9     agreement.
10                 c.    Abide by all agreements regarding sentencing contained
11    in this agreement.
12                 d.    Appear for all court appearances, surrender as ordered
13    for service of sentence, obey all conditions of any bond, and obey
14    any other ongoing court order in this matter.
15                 e.    Not commit any crime; however, offenses that would be
16    excluded for sentencing purposes under United States Sentencing
17    Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
18    within the scope of this agreement.

19                 f.    Be truthful at all times with the United States

20    Probation and Pretrial Services Office and the Court.

21                 g.    Pay the applicable special assessment at or before the

22    time of sentencing unless defendant has demonstrated a lack of

23    ability to pay such assessments.

24                 h.    Pay the applicable fine, which the parties agree is at

25    least $1,149,000, at or before the time of sentencing.

26                 i.    Make restitution, if applicable, at or before the time

27    of sentencing, and not seek the discharge of any restitution

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1     obligation, in whole or in part, in any present or future bankruptcy

2     proceeding.

3                                   THE USAO’S OBLIGATIONS

4            3.    The USAO agrees to:

5                  a.    Not contest the Factual Basis agreed to in this

6     agreement.

7                  b.    Abide by all agreements regarding sentencing contained

8     in this agreement.

9                  c.    At the time of sentencing, move to dismiss the
10    remaining counts of the indictment as against defendant.                Defendant
11    agrees, however, that at the time of sentencing the Court may
12    consider any dismissed charges in determining the applicable
13    Sentencing Guidelines range, the propriety and extent of any
14    departure from that range, and the sentence to be imposed.
15                 d.    Provided that defendant demonstrates an acceptance of
16    responsibility for the charged offense as defined in U.S.S.G. §
17    3E1.1, including as further explained in its application notes and in
18    particular Note 1(A), up to and including at the time of sentencing,

19    recommend a two-level reduction in the applicable Sentencing

20    Guidelines offense level, pursuant to U.S.S.G. § 3E1.1(a).

21                                  NATURE OF THE OFFENSE

22           4.    Defendant understands that for defendant to be guilty of

23    the crime charged in Count Four, that is, Federal Program Bribery in

24    violation of 18 U.S.C. § 666(a)(2), the following must be true:

25                 a.    Defendant corruptly gave, offered, or agreed to give

26    something of value to a person;

27                 b.    Defendant intended to influence or reward an agent of

28    a local government -- here, the County of Los Angeles -- in

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1     connection with any business, transaction, or series of transactions

2     of that local government involving anything of value of $5,000 or

3     more; and

4                  c.    The County of Los Angeles received, in any one year

5     period, benefits in excess of $10,000 under a Federal program

6     involving a grant, contract, subsidy, loan, guarantee, insurance, or

7     other form of Federal assistance.

8                                 PENALTIES AND RESTITUTION

9            5.    Defendant understands that the statutory maximum sentence
10    that the Court can impose for a violation of 18 U.S.C. § 666(a)(2)
11    is: 10 years’ imprisonment; a three-year period of supervised
12    release; a fine of $250,000 or twice the gross gain or gross loss
13    resulting from the offense, whichever is greatest; and a mandatory
14    special assessment of $100.
15           6.    Defendant understands that defendant will be required to

16    pay full restitution to the victim of the offense to which defendant

17    is pleading guilty.       Defendant agrees that, in return for the USAO’s

18    compliance with its obligations under this agreement, the Court may

19    order restitution to persons other than the victim of the offense to

20    which defendant is pleading guilty and in amounts greater than those

21    alleged in the count to which defendant is pleading guilty.                 In

22    particular, defendant agrees that the Court may order restitution to

23    any victim of any of the following for any losses suffered by that

24    victim as a result: (a) any relevant conduct, as defined in U.S.S.G.

25    § 1B1.3, in connection with the offense to which defendant is

26    pleading guilty; and (b) any counts dismissed pursuant to this

27    agreement as well as all relevant conduct, as defined in U.S.S.G.

28    § 1B1.3, in connection with those counts.

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1            7.    Defendant agrees that any and all fines and/or restitution

2     ordered by the Court will be due immediately.              The government is not

3     precluded from pursuing, in excess of any payment schedule set by the

4     Court, any and all available remedies by which to satisfy defendant’s

5     payment of the full financial obligation, including referral to the

6     Treasury Offset Program.

7            8.    Defendant understands that supervised release is a period

8     of time following imprisonment during which defendant will be subject

9     to various restrictions and requirements.             Defendant understands that
10    if defendant violates one or more of the conditions of any supervised
11    release imposed, defendant may be returned to prison for all or part
12    of the term of supervised release authorized by statute for the
13    offense that resulted in the term of supervised release, which could
14    result in defendant serving a total term of imprisonment greater than
15    the statutory maximum stated above.
16           9.    Defendant understands that, by pleading guilty, defendant

17    may be giving up valuable government benefits and valuable civic

18    rights, such as the right to vote, the right to possess a firearm,

19    the right to hold office, and the right to serve on a jury.

20    Defendant understands that he is pleading guilty to a felony and that

21    it is a federal crime for a convicted felon to possess a firearm or

22    ammunition.     Defendant understands that the conviction in this case

23    may also subject defendant to various other collateral consequences,

24    including but not limited to revocation of probation, parole, or

25    supervised release in another case and suspension or revocation of a

26    professional license.        Defendant understands that unanticipated

27    collateral consequences will not serve as grounds to withdraw

28    defendant’s guilty plea.

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1           10.     Defendant understands that, if defendant is not a United

2     States citizen, the felony conviction in this case may subject

3     defendant to: removal, also known as deportation, which may, under

4     some circumstances, be mandatory; denial of citizenship; and denial

5     of admission to the United States in the future.              The Court cannot,

6     and defendant’s attorney also may not be able to, advise defendant

7     fully regarding the immigration consequences of the felony conviction

8     in this case.      Defendant understands that unexpected immigration

9     consequences will not serve as grounds to withdraw defendant’s guilty
10    plea.
11                                       FACTUAL BASIS
12            11.   Defendant admits that defendant is, in fact, guilty of the

13    offense to which defendant is agreeing to plead guilty.                Defendant

14    and the USAO agree to the statement of facts provided below and agree

15    that this statement of facts is sufficient to support a plea of

16    guilty to the charge described in this agreement and to establish the

17    Sentencing Guidelines factors set forth in paragraph 13 below but is

18    not meant to be a complete recitation of all facts relevant to the

19    underlying criminal conduct or all facts known to either party that

20    relate to that conduct.

21          Background

22          At all times relevant to the charges in the indictment,

23    defendant was a real estate developer who conducted business with the

24    County of Los Angeles (“County”).            He was the co-managing partner and

25    co-founder of the Charles Company, a real estate development firm

26    that developed and maintained commercial and residential real estate

27    projects.     Defendant was also a partner of the California limited

28    partnership M&A Gabaee, among other entities.              Defendant’s business

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1     activities included obtaining contracts with the County, whereby the

2     County would lease property owned by defendant, often through one of

3     his companies.

4           Cooperating Witness 1 (“CW1”) was a public official employed by

5     the County in the Real Estate Division.            CW1’s duties involved

6     negotiating leases between private building and property owners and

7     various County departments.         CW1 was also able to request and receive

8     proposals from private real estate developers, like defendant, who

9     wanted to lease their buildings to County departments.                Once a
10    property was identified for a County department in need of space, CW1
11    was able to negotiate lease terms and draft lease agreements for the
12    County and private property owners, or direct others to do so.                  Based
13    on CW1’s level of seniority, CW1 had significant autonomy to
14    contractually bind the County.          In particular, CW1 had authority to
15    negotiate contract terms on behalf of the County, although final
16    contract approval lay with the Board of Supervisors, and CW1 had
17    authority to approve, with others, change orders on contracts.
18          The County was a local government that received, every calendar

19    year between 2010 and 2017, benefits in excess of $10,000 under a

20    Federal program involving a grant, contract, subsidy, loan,

21    guarantee, insurance, or other form of Federal assistance.                 In fact,

22    multiple County departments or agencies, including but not limited to

23    the Department of Public Social Services (“DPSS”), received Federal

24    assistance that exceeded $10,000 every calendar year between 2010 and

25    2017.

26          Monthly Bribe Payments

27          Beginning in or about 2010 or 2011, and continuing until on or

28    about April 11, 2017, defendant paid CW1 bribes and kickbacks of

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1     approximately $1,000 about every month, in exchange for, among other

2     things: (a) CW1 providing non-public County information to defendant;

3     (b) CW1 resolving issues between defendant and County departments or

4     agencies on terms favorable to defendant; and (c) CW1 helping to

5     secure County leases for defendant and negotiating terms in those

6     leases that were beneficial to defendant.

7           On or about the following dates, during recorded meetings,

8     defendant paid CW1 the following cash bribes and kickbacks:

9             DATE                     AMOUNT OF CASH BRIBE AND KICKBACK
10            December 20, 2016        $1,500
11            December 30, 2016        $1,500
12            January 27, 2017         $1,000
13            March 1, 2017            $1,000
14            March 31, 2017           $900
15            April 11, 2017           $100
16

17          Hawthorne Mall and DPSS Lease
18          One of the County leases defendant sought was for the Hawthorne
19    Mall, aka the “Hawthorne Plaza” or “Hawthorne Plaza Shopping Center,”
20    located in Hawthorne, California.             Through one of his companies,
21    defendant owned and was redeveloping the Hawthorne Mall.                Beginning
22    in or around 2016, defendant sought a contract through which the
23    County would lease space from defendant for DPSS and other County
24    departments or agencies in the Hawthorne Mall (the “DPSS Lease”).                     As
25    drafted, the DPSS Lease anticipated a term of 10 years and payments
26    to defendant, in the form of rent and tenant improvements
27    reimbursable by the County, in excess of $45 million.
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1            To secure that DPSS Lease, beginning in or about, but no later

2      than, December 2016 and continuing until on or about April 25, 2017,

3      defendant attempted to bribe, and did bribe, CW1 with (a) the monthly

4      cash bribe payments and (b) the purchase of a residential property in

5      Northern California for CW1’s use.          In exchange for these bribes,

6      defendant sought to have CW1 perform various official acts related to

7      the DPSS Lease including, among other things: (a) CW1 exerting

8      pressure on County departments to complete and submit Space Request

9      Evaluations (“SREs”), an official request for office space that would
10     have allowed CW1 to begin more formal lease negotiations with
11     defendant; (b) CW1 pretending to publically engage in the normal
12     County bidding process for County leases, but in fact, promising
13     defendant that CW1 would give defendant favorable treatment to ensure
14     that defendant received the DPSS Lease; (c) CW1 exerting pressure on
15     a subordinate employee (“County Employee 1”) in the Real Estate
16     Division to draft the DPSS Lease for defendant, and to do so
17     expeditiously and no later than August 2017; (d) CW1 using CW1’s
18     influence to pressure County Employee 1 to draft the DPSS Lease in

19     such a way that it “looked good on paper,” meaning that it did not

20     appear suspect or raise concerns; (e) CW1 using CW1’s influence to

21     pressure DPSS to agree to the terms in the DPSS Lease; and (f) CW1

22     ultimately obtaining the signed DPSS Lease for defendant.

23           To uphold his end of the quid pro quo arrangement, defendant

24     first offered to purchase for CW1 a property on Barnes Road in Santa

25     Rosa, California, listed at $1,199,000, but the property was already

26     in escrow.    Thereafter, defendant offered to buy CW1 a property on

27     Annadel Heights Drive in Santa Rosa, which was originally listed for

28     $1,199,000 but later reduced to $1,095,000.            In April 2017, defendant

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1      made two purchase offers on the Annadel Heights Drive property -- the

2      first offer was for $1,035,000, and the second offer was for

3      $1,065,000.     Defendant intended to purchase the Annadel Heights Drive

4      property for CW1; however, he rescinded his second purchase offer

5      hours after he made it, because FBI agents had approached and

6      informed him that the FBI was aware of his bribes to CW1.

7                                     SENTENCING FACTORS

8            12 .   Defendant understands that in determining defendant’s

9      sentence the Court is required to calculate the applicable Sentencing
10     Guidelines range and to consider that range, possible departures
11     under the Sentencing Guidelines, and the other sentencing factors set
12     forth in 18 U.S.C. § 3553(a).         Defendant understands that the
13     Sentencing Guidelines are advisory only, that defendant cannot have
14     any expectation of receiving a sentence within the calculated
15     Sentencing Guidelines range, and that after considering the
16     Sentencing Guidelines and the other § 3553(a) factors, the Court will
17     be free to exercise its discretion to impose any sentence it finds
18     appropriate up to the maximum set by statute for the crime of

19     conviction.

20           13 .   Defendant and the USAO agree to the following applicable

21     Sentencing Guidelines factors:

22        Base Offense Level:                      12      [U.S.S.G. § 2C1.1(a)(2)]
23        Specific Offense
          Characteristics
24

25           -More Than One Bribe:                 +2      [U.S.S.G. § 2C1.1(b)(1)]

26           -Value of the Bribe:               +14
                                                 [U.S.S.G. §§ 2C1.1(b)(2),
                                                           2B1.1(b)(1)(H)]
27     Defendant and the USAO reserve the right to argue that additional

28     specific offense characteristics, adjustments, and departures under

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1      the Sentencing Guidelines are appropriate.            For example, the USAO

2      will argue that the following specific offense characteristic

3      applies: a four-level increase for bribing an official in a high-

4      level decision making or sensitive position under U.S.S.G. §

5      2C1.1(b)(3).

6            14 .   Defendant understands that there is no agreement as to

7      defendant’s criminal history or criminal history category.

8            15 .   Defendant and the USAO reserve the right to argue for a

9      sentence outside the sentencing range established by the Sentencing
10     Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
11     (a)(2), (a)(3), (a)(6), and (a)(7).
12                            WAIVER OF CONSTITUTIONAL RIGHTS

13           16 .   Defendant understands that by pleading guilty, defendant

14     gives up the following rights:

15                  a.   The right to persist in a plea of not guilty.

16                  b.   The right to a speedy and public trial by jury.

17                  c.   The right to be represented by counsel –- and if

18     necessary have the Court appoint counsel -- at trial.              Defendant

19     understands, however, that, defendant retains the right to be

20     represented by counsel –- and if necessary have the Court appoint

21     counsel –- at every other stage of the proceeding.

22                  d.   The right to be presumed innocent and to have the

23     burden of proof placed on the government to prove defendant guilty

24     beyond a reasonable doubt.

25                  e.   The right to confront and cross-examine witnesses

26     against defendant.

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1                   f.    The right to testify and to present evidence in

2      opposition to the charges, including the right to compel the

3      attendance of witnesses to testify.

4                   g.    The right not to be compelled to testify, and, if

5      defendant chose not to testify or present evidence, to have that

6      choice not be used against defendant.

7                   h.    Any and all rights to pursue any affirmative defenses,

8      Fourth Amendment or Fifth Amendment claims, and other pretrial

9      motions that have been filed or could be filed.
10                             WAIVER OF APPEAL OF CONVICTION
11           17 .   Defendant understands that, with the exception of an appeal

12     based on a claim that defendant’s guilty plea was involuntary, by

13     pleading guilty defendant is waiving and giving up any right to

14     appeal defendant’s conviction on the offense to which defendant is

15     pleading guilty.      Defendant understands that this waiver includes,

16     but is not limited to, arguments that the statute to which defendant

17     is pleading guilty is unconstitutional, and any and all claims that

18     the statement of facts provided herein is insufficient to support

19     defendant’s plea of guilty.

20                       LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

21           18 .   Defendant agrees that, provided the Court imposes a total

22     term of imprisonment on all counts of conviction of no more than 108

23     months, defendant gives up the right to appeal all of the following:

24     (a) the procedures and calculations used to determine and impose any

25     portion of the sentence; (b) the term of imprisonment imposed by the

26     Court; (c) the fine imposed by the Court, provided it is within the

27     statutory maximum; (d) to the extent permitted by law, the

28     constitutionality or legality of defendant’s sentence, provided it is

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1      within the statutory maximum; (e) the amount and terms of any

2      restitution order; (f) the term of probation or supervised release

3      imposed by the Court, provided it is within the statutory maximum;

4      and (g) any of the following conditions of probation or supervised

5      release imposed by the Court: the conditions set forth in General

6      Order 20-04 of this Court; the drug testing conditions mandated by 18

7      U.S.C. §§ 3563(a)(5) and 3583(d); and the alcohol and drug use

8      conditions authorized by 18 U.S.C. § 3563(b)(7).

9            19 .   The USAO agrees that, provided (a) all portions of the
10     sentence are at or below the statutory maximum specified above and
11     (b) the Court imposes a term of imprisonment of no less than 87
12     months, the USAO gives up its right to appeal any portion of the
13     sentence, with the exception that the USAO reserves the right to
14     appeal the following: the amount of a fine ordered if that amount is
15     less than $1,149,000.
16                          RESULT OF WITHDRAWAL OF GUILTY PLEA

17           20 .   Defendant agrees that if, after entering a guilty plea

18     pursuant to this agreement, defendant seeks to withdraw and succeeds

19     in withdrawing defendant’s guilty plea on any basis other than a

20     claim and finding that entry into this plea agreement was

21     involuntary, then (a) the USAO will be relieved of all of its

22     obligations under this agreement; and (b) should the USAO choose to

23     pursue any charge that was either dismissed or not filed as a result

24     of this agreement, then (i) any applicable statute of limitations

25     will be tolled between the date of defendant’s signing of this

26     agreement and the filing commencing any such action; and

27     (ii) defendant waives and gives up all defenses based on the statute

28     of limitations, any claim of pre-indictment delay, or any speedy

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1      trial claim with respect to any such action, except to the extent

2      that such defenses existed as of the date of defendant’s signing this

3      agreement.

4                                EFFECTIVE DATE OF AGREEMENT

5              21.    This agreement is effective upon signature and execution of

6      all required certifications by defendant, defendant’s counsel, and an

7      Assistant United States Attorney.

8                                     BREACH OF AGREEMENT

9              22 .   Defendant agrees that if defendant, at any time after the
10     signature of this agreement and execution of all required
11     certifications by defendant, defendant’s counsel, and an Assistant
12     United States Attorney, knowingly violates or fails to perform any of
13     defendant’s obligations under this agreement (“a breach”), the USAO
14     may declare this agreement breached.          All of defendant’s obligations
15     are material, a single breach of this agreement is sufficient for the
16     USAO to declare a breach, and defendant shall not be deemed to have
17     cured a breach without the express agreement of the USAO in writing.
18     If the USAO declares this agreement breached, and the Court finds

19     such a breach to have occurred, then: (a) if defendant has previously

20     entered a guilty plea pursuant to this agreement, defendant will not

21     be able to withdraw the guilty plea, and (b) the USAO will be

22     relieved of all its obligations under this agreement.

23             23.    Following the Court’s finding of a knowing breach of this

24     agreement by defendant, should the USAO choose to pursue any charge

25     that was either dismissed or not filed as a result of this agreement,

26     then:

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1                   a.   Defendant agrees that any applicable statute of

2      limitations is tolled between the date of defendant’s signing of this

3      agreement and the filing commencing any such action.

4                   b.   Defendant waives and gives up all defenses based on

5      the statute of limitations, any claim of pre-indictment delay, or any

6      speedy trial claim with respect to any such action, except to the

7      extent that such defenses existed as of the date of defendant’s

8      signing this agreement.

9                   c.   Defendant agrees that: (i) any statements made by
10     defendant, under oath, at the guilty plea hearing (if such a hearing
11     occurred prior to the breach); (ii) the agreed to factual basis
12     statement in this agreement; and (iii) any evidence derived from such
13     statements, shall be admissible against defendant in any such action
14     against defendant, and defendant waives and gives up any claim under
15     the United States Constitution, any statute, Rule 410 of the Federal
16     Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal
17     Procedure, or any other federal rule, that the statements or any
18     evidence derived from the statements should be suppressed or are

19     inadmissible.

20                           COURT AND UNITED STATES PROBATION

21                       AND PRETRIAL SERVICES OFFICE NOT PARTIES

22           24 .   Defendant understands that the Court and the United States

23     Probation and Pretrial Services Office are not parties to this

24     agreement and need not accept any of the USAO’s sentencing

25     recommendations or the parties’ agreements to facts or sentencing

26     factors.

27           25.    Defendant understands that both defendant and the USAO are

28     free to: (a) supplement the facts by supplying relevant information

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1      to the United States Probation and Pretrial Services Office and the

2      Court, (b) correct any and all factual misstatements relating to the

3      Court’s Sentencing Guidelines calculations and determination of

4      sentence, and (c) argue on appeal and collateral review that the

5      Court’s Sentencing Guidelines calculations and the sentence it

6      chooses to impose are not error, although each party agrees to

7      maintain its view that the calculations in paragraph 13 are

8      consistent with the facts of this case.           This paragraph permits both

9      the USAO and defendant to submit full and complete factual
10     information to the United States Probation and Pretrial Services
11     Office and the Court, even if that factual information may be viewed
12     as inconsistent with the Factual Basis and Sentencing Factors agreed
13     to in this agreement.
14           26.   Defendant understands that even if the Court ignores any

15     sentencing recommendation, finds facts or reaches conclusions

16     different from those agreed to, and/or imposes any sentence up to the

17     maximum established by statute, defendant cannot, for that reason,

18     withdraw defendant’s guilty plea, and defendant will remain bound to

19     fulfill all defendant’s obligations under this agreement.               Defendant

20     understands that no one –- not the prosecutor, defendant’s attorney,

21     or the Court –- can make a binding prediction or promise regarding

22     the sentence defendant will receive, except that it will be within

23     the statutory maximum.

24                                 NO ADDITIONAL AGREEMENTS

25           27.   Defendant understands that, except as set forth herein,

26     there are no promises, understandings, or agreements between the USAO

27     and defendant or defendant’s attorney, and that no additional

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1      promise, understanding, or agreement may be entered into unless in a

2      writing signed by all parties or on the record in court.

3                    PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

4            28 .   The parties agree that this agreement will be considered

5      part of the record of defendant’s guilty plea hearing as if the

6      entire agreement had been read into the record of the proceeding.

7      AGREED AND ACCEPTED

8      UNITED STATES ATTORNEY’S OFFICE
       FOR THE CENTRAL DISTRICT OF
9      CALIFORNIA
10     TRACY L. WILKISON
       United States Attorney
11

12                                                         April 26, 2022

13     RUTH C. PINKEL                                      Date
       LINDSEY GREER DOTSON
14     THOMAS F. RYBARCZYK
       Assistant United States Attorneys
15

16
       ARMAN GABAEE                                        Date
17     Defendant
18

19     MARC A. AGNIFILO                                    Date
       Attorney for Defendant ARMAN GABAEE
20

21     ///
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                                                                    unles s in a
 1    promi se, under standi ng, or agreem ent may be entere d into
                                                                .
 2    writin g signed by all partie s or on the record in court

 3                   PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

 4            28.   The partie s agree that this agreem ent wil l be consi dered
                                                              as if t he
 5    part of the record of defen dant's guilty plea hearin g
                                                              proce eding .
 6    entire agreem ent had been read into the record of the

 7    AGREED AND ACCEPTED

 8    UNITED STATES ATTORNEY'S OFFICE
      FOR THE CENTRAL DISTR ICT OF
 9    CALIFORN I A

10    TRACY L. WILKISON
      Uni ted State s Attorn ey
11

12
      RUTH C. PINKEL                                   Date
13    LINDSEY GREER DOTS
      THOMAS F. RYBARCZYK
14

15

16    ARMAN GABAEE
      Defen dant
17

18                                                     d!nL 26, l.o22
                                                       Dae
19                                ARMAN GABAEE

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      1                             CERTIFICATION OF DEFENDANT
      2            I have read this agreeme nt in its entiret y.     I have had enough
      3    time to review and conside r this agreeme nt, and I have careful ly and

      4    thoroug hly discuss ed every part of it with my attorne y.        I underst and
      5    the terms of this agreeme nt, and I volunta rily agree to those terms.

      6    I have discuss ed the evidenc e with my attorne y, and my attorne y has
     7    advised me of my rights, of possibl e pretria l motions that might be
     8    filed, of possibl e defense s that might be asserte d either prior to or
     9    at trial, of the sentenc ing factors set forth in 18 U.S.C. § 3553(a) ,
10        of relevan t Sentenc ing Guideli nes provisi ons, and of the consequ ences
11        of enterin g into this agreem ent.        No promise s, inducem ents, or
12        represe ntation s of any kind have been made to me other than those

13        contain ed in this agreeme nt.    No one has threate ned or forced me in
14        any way to enter into this agreeme nt.         I am satisfi ed with the
15        represe ntation of my attorne y in this matter, and I am pleadin g
16        guilty because I am gui ty of the charge and wish to take advanta ge
17        of the                                    agreeme nt, and not for any other
18        reason
19

20        ARMAN GABAEE
          Defenda nt
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24        Ill
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 1                    CERTIFICATION OF DEFENDANT'S ATTORNEY
 2        I am defendant ARMAN GABAEE's attorney.        I have carefully and
 3   thoroughly discussed every part of this agreement with my client.
 4   Further, I have fully advised my client of his rights, of possible
 5   pretrial motions that might be filed, of possible defenses that might
 6   be asserted either prior to or at trial, of the sentencing factors
 7   set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
 8   provisions, and of the consequences of entering into this agreement.
 9   To my knowledge: no promises, inducements, or representations of any
10   kind have been made to my client other than those contained in this
11   agreement; no one has threatened or forced my client in any way to
12   enter into this agreement; my client's decision to enter into this
13   agreement is an informed and voluntary one; and the Factual Basis set
14   forth in this agreement is sufficient to support my client's entry of
15   a guilty plea pursuant to this agreement.
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                              ARMAN GABAEE
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